Case 1:18-cv-10933-RA Document 71-1 Filed 05/13/19 Page 1of5

EXHIBIT 1
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Family Court of the State of New York

 

City of New York
JACQUELINE M. BURNS
SUPERVISING COURT ATTORNEY 60 LAFAYETTE STREET
(NEW YORK COUNTY) . NEW YORK, N.Y. 10013

August 3, 2016

Maniuel P. Asensio
400 East 54 St., Apt. 29B
New York, NY 10022

Re: Asensio v. Bosak
Docket No. V-43839/13/13A

Dear Mr. Asensio,

I am the Court Attorney for the Hon. Karen Lupuloff, Supervising Judge of New York
County Family Court. Your email of July 15, 2016, regarding a letter of complaint you sent in
November of 2015 was referred to me.

In your letter, you urge the Supervising Judge to intervene in the above-referenced case,
to which you are a party and which is pending before Hon. Adetokunbo. Fasanya. I see that your
next court date is August 5, 2016 for a hearing on your motion as well as a motion by the
attorney for the child. Our records also indicate that you have an appeal to one of Judge
Fasanya’s orders pending before the First Department. Please be advised that Judge Lupuloff is
ethically barred from commenting on or intervening in matters currently before the Family .
Court. Additionally, your letter of complaint addresses issues that are now under review by the
Appellate Court and it would be unethical as well as inappropriate for a Judge of the Family

‘Court to comment on those issues or intervene in those matters.

I see from my review of the.court, file. that} you are no longer representing yourself, but
once apaitr have retained tegal. Co ; “Your: soncerns eeBarding the: pending case, as ‘well as
any legal action regarding:the progress of that case and orders by the presiding jurist are best
addressed with your attorney, who is in the best position to advise you.

 

We thank you for bringing your concerns to our attention. New York County Family
Court is dedicated to serving its litigants who appear here with the utmost dignity and respect.

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Sincerely, A AL
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acqueline M. Burns
Supervising Court Attorney
Case 1:18- CVz10933z nt Ted 05/13/19 Page 3of5
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DANIELLE M. RODRIGUEZ 60 LAFAYETTE STREET
SUPERVISING COURT ATTORNEY NEW YORK, N.Y. 10013

June 11, 2015
Manuel Asensio
400 East 54' Street, Apt. 29B
New York, New York 10022
Via E-mail
Re: Asensio v. Bosak
Docket V-43839/13
Dear Mr. Asensio,

lam the Court Attorney to the Hon. Douglas E. Hoffman, Supervising Judge of
New York County Family Court. | write this letter in response to the e-mails that you
sent to me on June 9, 2015 and June 11, 2015.

We thank you for bringing your concerns to our attention, as NY County Family
Court is dedicated to serving its litigants and seeks to be responsive to their cares.
Please be advised, however, that both Judge Hoffman and | are ethically prohibited
from commenting on or intervening in a matter before another Judge. Our records
reflect that you are represented by counsel in your Family Court proceedings, Mr.
Christopher Battaglia, Esq. Mr. Battaglia is in the best position to provide you with
legal advice regarding your pending cases. [ understand that you are attempting to file
an order to show cause. Please note that the policy of NY County Family Court is that
a litigant who is represented by counsel may not file an order to show cause pro se.
You may find it helpful to speak to your attorney regarding your attorney filing your
order to show cause on your behalf if you believe this is appropriate.

Lhope you find this information helpful.

Sincerely yours,

    

cc: Christopher Battaglia, Esq., via e-mail
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STATE OF NEW YORK
UNIFIED COURT SYSTEM
111 CENTRE STREET
NEW YORK, N.Y. 10043
(646)386-4200

 

LAWRENCE K. MARKS FERN A. FISHER
Chief Administrative Judge Deputy Chief Administrative Judge
New York City Courts

October 27, 2016

Mr. Manuel P. Asensio
400 East 54th St., Apt. 29B
New York, NY 10022

Re: Asensio v Bosak
Dear Mr. Asensio:

This is in response to your emails addressed to the Honorable Fern A. Fisher,
Deputy Chief Administrative Judge for New York City Courts.

_- In your emails you express dissatisfaction with the manner in which your cases
were handled by the court. While Judge Fisher does have administrative oversight of
the state courts within the City of New York, neither Judge Fisher nor any other
Administrative Judge-may interfere in the rulings or decisions of a case handled by
another judge.

Further, if you believe the judges handling your cases erred in their rulings, you
may wish to consider the remedies available through the appellate process. The
Appellate Term, First Judicial Department is located at 60 Centre Street, Room 401,
New York, NY 10007.

We regret your dissatisfaction with the outcome of your cases.

Sincerely,

Ayrahes Mali _

Special Assistant to DCAJ

LDM: |
cc: Hon. Fern A. Fisher, DCAJ
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NEW YORK STATE

Unified Court System

 

 

OFFICE OF COURT ADMINISTRATION

LAWRENCE K. MARKS JOHN W. McCONNELL
CHIEF ADMINISTRATIVE JUDGE COUNSEL

December 5, 2016

BY U.S. MAIL
Mr. Manuel P. Asensio |

— 400 East 54th Street (Apt. 29B)
New York, New York 10022

Re: Correspondence of November 28, 2016
Dear Mr. Asensio:

Chief Judge Janet DiFiore and Chief Administrative Judge Lawrence K. Marks have
referred to me for response your letter dated November 28, 2016, in which you (1) express
serious concerns over the conduct of a Family Court Judge, as well as various administrative
judges, in the handling of a child custody matter in which you are a party; and (2) seek removal
of that judge from the matter. For reasons that have been described to you in past
communications from court officials, your recourse in this matter is through the normal channels
of appellate practice, and not through extraordinary administrative action by the Chief Judge, the
Chief Administrative Judge, or any other administrative officer. We recognize, and regret, that
you disagree with this conclusion. But it reflects a fundamental principle of court operations,
and is unalterable.

 

ce Hon. Lawrence K. Marks

COUNSEL’S OFFICE * 25 BEAVER STREET, NEW YORK, NEW YORK 10004 e TEL! 212-428-2150 © FAx: 212-428-2155
